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12
                               UNITED STATES DISTRICT COURT
13                           NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
14

15   IN RE GOOGLE RTB CONSUMER                       Case No. 4:21-cv-02155 YGR (VKD)
     PRIVACY LITIGATION
16

17                                                   PLAINTIFFS’ NOTICE OF MOTION AND
                                                     MOTION FOR CLASS CERTIFICATION
18   This document applies to all actions.           AND APPOINTMENT OF CLASS
                                                     REPRESENTATIVES AND CLASS
19
                                                     COUNSEL; AND MEMORANDUM OF
20                                                   POINTS AND AUTHORITIES IN
                                                     SUPPORT THEREOF
21
                                                     Judge:     Hon. Yvonne Gonzalez Rogers
22                                                   Date:      TBD
                                                     Time:      TBD
23
                                                     Courtroom: 1, 4th Floor
24

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                                        REDACTED VERSION
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28
                                                     i              Case No. 4:21-cv-02155 YGR (VKD)
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 1                                 NOTICE OF MOTION AND MOTION

 2 TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 3            PLEASE TAKE NOTICE that, on a date and time to be determined, 1in Courtroom 1, 4th

 4 Floor, of this Court, located at 1301 Clay Street, Oakland, California 94612, plaintiffs Christopher

 5 Valencia, John Kevranian, Terry Diggs, Kimberley Woodruff, Rethena Green, Salvatore Toronto,

 6 and Tara Williams will and hereby do move the Court for an Order (i) certifying this action as a class

 7 action, (ii) appointing plaintiffs as representatives of the class, and (iii) appointing Elizabeth Pritzker

 8 of Pritzker Levine LLP, Lesley Weaver of Bleichmar Fonti & Auld LLP, Jay Barnes of Simmons

 9 Hanly Conroy LLC, David Straite of DiCello Levitt LLP, Nanci Nishimura of Cotchett Pitre &
10 McCarthy, LLP, and Yury A. Kolesnikov of Bottini & Bottini, Inc. as class counsel, with Ms. Pritzker

11 to serve as lead class counsel.

12            Plaintiffs seek to certify a class consisting of all individual Google account holders subject to
13 a Google United States Terms of Service whose personal information was sold or shared by Google

14 in its Real Time Bidding (“RTB”) auctions after June 28, 2016 (the “Class”). Plaintiffs seek

15 certification of the following claims, all arising under California law: (i) breach of contract, (ii)

16 breach of confidence, (iii) invasion of privacy, (iv) intrusion upon seclusion, (v) publication of private

17 facts, and (vi) for violations of the California Information Privacy Act (“CIPA”), CAL PEN. CODE

18 § 631. 2

19            This Motion is made pursuant to Rule 23 of the Federal Rules of Civil Procedure, on the

20 grounds that:

21

22
     1
23     See ECF 530, 534.
     2
       Plaintiffs’ Consolidated Class Action Complaint (“CCAC”) asserts 12 individual and class claims.
24   ECF 92. After the CCAC was filed, Judge Koh directed the parties to select eight claims to be litigated
     through trial. See ECF 83 at 1. The parties filed a joint statement identifying the eight claims, with
25   plaintiffs reserving all rights (see ECF 91 at 2), including the six claims for which plaintiffs now seek
     certification The claims that remain in abeyance are for violations of the California Unfair
26   Competition Law; California Constitutional Invasion of Privacy; violations of the Electronic
27   Communications Privacy Act; and violations of the Video Privacy Protection Act. The Court
     previously dismissed without prejudice plaintiffs’ claims for breach of the implied covenant of good
28   faith and fair dealing, but granted leave to move to amend this claim, following discovery, as
     appropriate. See MTD Order (ECF 233) at 10-11.
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 1          (a)    Joinder of all class members is impracticable because the Class consists of millions

 2                 of similarly situated Google U.S. account holders whose personal information was

 3                 improperly sold and shared by Google;

 4          (b)    Google’s common contract and promises and the uniform conduct of its RTB auctions

 5                 with respect to all class members present core questions of law and fact common to

 6                 the Class;

 7          (c)    Plaintiffs’ claims are typical of the claims of the Class;

 8          (d)    Plaintiffs and their attorneys have fairly and adequately protected the interests of the

 9                 Class and will continue to do so;
10          (e)    The questions of law and fact that are common to the Class overwhelmingly
11                 predominate over any individualized issues that might exist; and,
12          (f)    A class action is superior to any other method of adjudicating plaintiffs’ claims against
13                 Google.
14          Plaintiffs’ Motion is based upon this Notice, the accompanying Memorandum of Points and
15 Authorities, the Declarations of Elizabeth C. Pritzker (“Pritzker Decl.”) and Bethany Caracuzzo

16 (“Caracuzzo Decl.”) in support of class certification and all exhibits thereto, any reply memorandum

17 plaintiffs may file, the orders, pleadings, and files in this action, and such other matters as may be

18 presented at or before the hearing.

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 1                           STATEMENT OF ISSUES TO BE DECIDED

 2 I.     Should the Court certify the Class and class claims under Rule 23 of the Federal Rules of
 3        Civil Procedure?
 4 II.    Should the Court appoint plaintiffs Christopher Valencia, John Kevranian, Terry Diggs,
 5        Kimberley Woodruff, Rethena Green, Salvatore Toronto, and Tara Williams as
 6        representatives of the Class?
 7 III.   Should the Court appoint the Elizabeth Pritzker of Pritzker Levine LLP, Lesley Weaver of
 8        Bleichmar Fonti & Auld LLP, Jay Barnes of Simmons Hanly Conroy LLC, David Straite of
 9        DiCello Levitt LLP, Nanci Nishimura of Cotchett Pitre & McCarthy LLP, and Yury A.
10        Kolesnikov of Bottini & Bottini Inc. as class counsel, with Ms. Pritzker to serve as lead class
11        counsel?
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2 I.       INTRODUCTION
 3          The Court has upheld the legal sufficiency of the claims in this case. The question for the

 4 Court to decide on this motion is whether, on the limited discovery to date, plaintiffs have satisfied

 5 Rule 23 of the Federal Rules of Civil Procedure (“Rule 23”). Because plaintiffs demonstrate that their

 6 class allegations satisfy each requirement under that Rule, the Court should certify the Class. Rule

 7 23(a) is easily met here. The action is brought on behalf of Google account holders in the United

 8 States—tens of millions of them—to whom Google consistently, and unequivocally, makes a core

 9 promise in its Terms of Service (“ToS”) and Privacy Policies:

10                             We don’t sell users’ personal information. 3

11          Google has restated this core promise —, and the related promise that it does not sell or share

12 personal information with anyone outside of Google — in its ToS, Privacy Policies, and its Google

13 account holder agreements since at least 2016:

14          What is still the same?

15          •       Google does not sell your personal information to anyone. 4

16                                                   ***
17          We will share personal information with companies, organizations or individuals outside of
            Google when we have your consent to do so. We require opt-in consent for the sharing of
18          any sensitive personal information. 5
19
                                                     ***
20          Never sell our users’ personal information to anyone… [i]t’s important to clarify that our
21          users’ personal information is simply not for sale. 6

22

23   3
       Google’s Privacy & Terms – Technologies and Principles - Privacy Principles, published on
24   Google’s website and incorporated in its Privacy Policy since September 10, 2015. Caracuzzo Decl.
     ¶¶ 2-7, Ex. 34. The cited promises were made by Google throughout the class period. Id. ¶¶ 2, 6-7, 9,
25   12-15, 17, 20, 23-25, 29-30.
     4
       Google’s “Consent Bump” issued to U.S. account holders on June 28, 2016. Id. ¶¶ 21-22, Ex. 42.
26   5
       Google Privacy Policy, published on Google’s website since June 28, 2016. Id. ¶¶ 19, 23-24, Exs.
27   35, 36, 40 (bold italics added).
     6
       Google’s Safety Center – Our Privacy & Security Principles, published on Google’s website and
28   incorporated into Google’s Privacy Policy and ToS since September 10, 2018. Id. ¶¶ 8-12, Ex. 37.
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 1                                                     ***
            We do not share personal information with companies, organizations and individuals
 2
            outside of Google unless one of the following circumstances applies: With your consent
 3          . . . With domain administrators . . . For external processing . . . For legal reasons . . . . 7

 4                                                     ***
 5          We don’t show you personalized ads based on sensitive categories like race, religion, sexual
            orientation, or health. We don’t share information that personally identifies you with
 6          advertisers unless you ask us to. 8
 7
                                                      ***
 8          Google does not sell your personal information. 9
 9                                                     ***
10          We don’t sell your personal information to anyone. 10
11                                                     ***
12          [W]e never sell your personal information to anyone. 11
13                                                     ***

14          Advertisers do not pay us for personal information. 12

15 Google does not keep its promises. Instead, billions of times every day, throughout the class period,

16 Google sells and shares U.S. account holders’ personal information to third-party advertisers,

17 independent ad exchanges, social media websites (such as Facebook and Twitter), and other

18 participants around the world in Google’s “real time bidding” advertising auctions (“Google RTB”).

19          Google RTB is a fully automated process that works as follows. First, there is Google source
20 code that facilities data sharing through RTB and which is present on millions of websites and apps.

21 When a Google account holder (the “user”) visits any of these websites or apps, that source code

22 commands the user’s device and browser to report an impression (what the user is viewing), and

23 information about the user and her computer—including unique identifiers associated with the user,

24

25   7
     Google Privacy Policy (6/28/16). Caracuzzo Decl. ¶¶ 19, 27, Ex. 35.
     8
     Google Privacy Policy (5/25/18). Id. ¶¶ 19, 29, Ex. 36.
26 9 Google Privacy Policy (3/31/20). Id. ¶ 17, Ex. 40.
   10
27    Google’s “How Our Business Works” page, incorporated into Google’s ToS, from March 31, 2020,
   to the present. Id. ¶¶ 13-16, Exs. 38, 39, 41.
28 11 Id.
   12
      Id.
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 1 the device’s IP address, the URL of the website or app name being viewed, and the make/model of

 2 the user’s browser or mobile device—to Google for processing through the Google RTB system.

 3 Through no action of the user, Google RTB then packages that impression into a “bid request,” which

 4 is the standardized way that Google solicits bids from hundreds of potential buyers around the world

 5 seeking the opportunity to place an ad (“RTB participants”). Each bid request uniformly includes (1)

 6 information that Google associates with a user’s Google account; (2) information that is reasonably

 7 capable of identifying the user to RTB participants, including a Google User ID and other information

 8 that uniquely identifies the user or their device; and (3) content and contextual information that places

 9 the user and their communication into specific ad targeting categories, including categories that
10 Google publicly admits are “sensitive.” As plaintiffs’ experts show, the sharing of this information is

11 a uniform process for all account holders. The RTB participants can then bid for the opportunity to

12 have a targeted ad delivered to the user based on the information sent out in the bid request.

13          Numerosity is easily satisfied, and plaintiffs are typical and adequate. Plaintiffs are typical

14 of other class members and are adequate representatives. The data produced to date for the plaintiffs,

15 and the expert reports of Prof. Zubair Shafiq Ph.D. (“Shafiq Rep.”) and Prof. Christopher Wilson,

16 Ph.D. (“Wilson Rep.”), Pritzker Decl., Exs. 1-2, demonstrate typicality: plaintiffs’ personal

17 information was repeatedly shared with and sold to Google RTB participants despite Google’s

18 uniform promise that “Google will never sell any personal information to third parties.” Plaintiffs’

19 adequacy is demonstrated by their involvement in prosecuting the class claims thus far.

20          There are common questions of fact and issues of law. Google uniformly adopts California

21 law in its contracts with its U.S. account holders. And common evidence will show that every Google

22 RTB bid request during the Class Period contains the same dozens of categories of user data for sale

23 in the RTB auctions. Whether the core items of such data that Google concedes are transmitted with

24 each bid request are “personal information” under Google’s contract, defined as “information … that

25 can be reasonably linked to [name or email address] by Google, such as information we [i.e., Google]

26 associate[s] with your Google Account,” and under California law, i.e., “information that identifies,

27 relates, to, describes, is reasonably capable of being associated with, or could reasonably be linked,

28 directly or indirectly, with a particular consumer or household” (CAL. CIV. CODE § 1798.140(o)(1)),

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 1 is a common question and is subject to common proof and law that is uniform for plaintiffs and all

 2 class members.

 3          The requirements of Rule 23(b) are satisfied. As for Rule 23(b)(3), Google earns billions in

 4 revenues each year by sharing the personal information at issue in this case in RTB auctions, as

 5 described in the expert reports of Prof. Robert Zeithammer, Ph.D. (“Zeithammer Rep.”) and Greg J.

 6 Regan, CPA/CFF, CFE (“Regan Rep.”), Pritzker Decl., Exs. 3, 4. Relying on Google’s own internal

 7 documents, computation of class-wide damages stemming from Google’s improper conduct can be

 8 done on a common basis by academically accepted, industry standard econometric studies and

 9 quantitative analysis. Class members who have suffered damages can be readily identified by
10 common evidence in the form of Google’s own data. Shafiq Rep. ¶¶ 90-91. And common questions

11 of law and fact predominate over any individual issues. See Olean Wholesale Grocery Coop., Inc. v.

12 Bumble Bee Foods LLC, 31 F.4th 651, 663, 665–67 (9th Cir. 2022), cert. denied sub nom, StarKist

13 Co. v. Olean Wholesale Grocery Coop., Inc., 143 S. Ct. 424 (2022) (“Olean”). Class treatment is

14 appropriate because plaintiffs will use a common method to resolve the issues central to the claims

15 in one stroke. Id. at 663. Given the uniform contract, law, and conduct, the predominance of common

16 questions, and the size of the Class, a class action is far superior to any other method of adjudicating

17 plaintiffs’ claims against Google.

18          Rule 23(b)(2) also is satisfied. As discussed infra, Google “has acted or refused to act on

19 grounds that apply generally to the class, so that final injunctive relief or corresponding declaratory

20 relief is appropriate respecting the class as a whole.” Rule 23(b)(2).

21 II.      BACKGROUND

22          The Court’s description of the background of this dispute in its motion to dismiss order (ECF

23 233) is well supported by the evidence adduced to date. Plaintiffs are individuals residing in the

24 United States who created a Google account to access Google’s products and who, since June 28,

25 2016, have used their web browsers or apps to view information and media online. See CCAC, ECF

26 92, at ¶¶ 39-40, 45-46, 49-50, 53-58, 65-66, 70; Pritzker Decl. ¶¶ 16-22, Exs. 6-11. All plaintiffs and

27 Class members are subject to Google’s U.S. ToS. CCAC ¶¶ 71-72; Caracuzzo Decl. ¶¶ 31-37.

28 Google’s ToS contain two relevant provisions: First, that California law governs the contract.

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 1 Caracuzzo Decl. ¶¶ 35, 37, Exs. 39, 41. Second, since at least September 10, 2015, Google has

 2 represented that “We don’t sell users’ personal information”, Never sell our users’ personal

 3 information to anyone”, “[O]ur users’ personal information is simply not for sale” and “We don’t sell
                                         13
 4 your personal information to anyone.”

 5          Like the ToS, Google’s Privacy Policies have, throughout the class period, promised account

 6 holders that “we don’t sell your personal information to anyone,” “we don’t share information that

 7 personally identifies you with advertisers,” and “we don’t use topics or show personalized ads based

 8 on sensitive categories like race, religion, sexual orientation, or health.” See Caracuzzo Decl. ¶¶ 3-

 9 12, 17-20, 23-24, 26-30, Exs. 35, 36, 40.
10          In violation of these explicit promises, Google shares, offers for sale, and sells account

11 holders’ personal information billions of times a day to hundreds of entities around the world —

12 ranging from advertisers, publishers, hedge funds, governments, and big data companies like Meta,

13 Amazon, Yahoo, and LinkedIn — through Google’s proprietary RTB auctions. See Pritzker Decl.,

14 Ex. 12; see also expert report of Prof. Neil Richards (“Richards Rep.”), Pritzker Decl., Ex. 5 at ¶¶ 111-

15 113. The scope and functioning of Google RTB are described more fully in the accompanying Wilson

16 and Shafiq Reports. Generally speaking, Google owns and operates a platform to serve targeted

17 display advertising on web-browsers and apps through which it surreptitiously observes, collects, and

18 analyzes real-time data about account holders when they are using the internet. Wilson Rep. ¶¶ 18,

19 24. As an account holder uses her browser or app, that use is tracked, accompanied by cookies and

20 other identifiers sent from the account holder’s browser or app to Google. Id. ¶ 24. Google RTB then

21 sends bid requests to RTB participants with the account holder’s data — including her Google User

22 ID and other personal identifiers, IP address, device identifiers, geolocation data, the specific content

23 the user has requested and been shown when she is on a web-browser or, if on a handheld device, a

24 smartphone app. Id.; Shafiq Rep. ¶¶ 21, 41-42.

25          RTB participants may respond to the bid request with monetary bids for the right to place a

26 targeted ad based on the account holder’s data, or they may simply “lurk” in the auction to acquire

27   13
     See Google’s “Privacy & Terms, Technologies and Principles” (from 9/10/15 onward); “Safety
28 Center – Our Privacy and Security Principles” (from 9/20/18 to present); and “How Our Business
   Works” (from 2/22/20 to present). Caracuzzo Decl. ¶¶ 2-16, Exs. 34, 37, 38.
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 1 information about the account holder for future use. Wilson Rep. ¶ 24. The winning bidder gets to

 2 place an ad on the specific account holder’s browser or personal device, or assign that right to another,

 3 or resell and republish the account holder’s personal information obtained in the bid to other entities

 4 or databases. Id. The entire RTB auction process takes less than a hundred milliseconds (it takes 300

 5 milliseconds to blink an eye); hence, the name “real time” bidding. Id. ¶ 26; Shafiq Rep. ¶ 19. Google
                                                        14
 6 RTB is invisible and undisclosed to account holders.

 7          There is substantial common evidence that the account holder data that Google sells and offers

 8 for sale through Google RTB, in breach of its promises, is “personal information” under both

 9 Google’s Privacy Policy and California law. Google’s Privacy Policy tracks and is broader than
10 California law. Under Google’s definition, “personal information” includes “information that you

11 provide to us which personally identifies you, such as your name, email address, or billing

12 information, or other data that can be reasonably linked to such information by Google, such as

13 information we associate with your Google Account.” Caracuzzo Decl. ¶¶ 19, 29, Ex. 36. The

14 Privacy Policy describes information “Google “associate[s]with…Google Account[s]” to include:

15          . . . unique identifiers, browser type and settings, device type and settings, operating
            system, mobile network information, including carrier name and application version
16          number. We also collect information about the interaction of your apps, browsers, and
            devices with our services, including IP address, crash reports, system activity, and the
17          date, time and referrer URL of your request.
18
     Id. at 2. The document hyperlinked at “unique identifiers” defines a unique identifier as “a string of
19
     characters that can be used to uniquely identify a browser, app or device” which includes cookies,
20
     advertising IDs, and other unique device identifiers.” Id. at 27. Common evidence will show that
21
     Google associates these and other unique identifiers and sensitive information that Google routinely
22
     places in RTB bid requests and offers for sale and sells 15 to hundreds of participants outside of Google
23

24
     14
      Richards Rep. ¶¶ 7, 91, 119, 128-131, 135. Because it is undisclosed, there is no mechanism for
25 account holders to consent (or decline to consent) to Google sharing with or selling to third parties
   their personal information in RTB. Id. ¶ 137.
26 15 California law, which applies here, defines a sale of personal information as “selling, renting,

27 releasing, disclosing, disseminating, making available, transferring, or otherwise
   communicating…by electronic or other means, a consumer’s personal information by the business to
28 another business or third party for monetary or other valuable consideration.” Cal. Civ. Code
   § 1798.140(t)(1).
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 1 in the Google RTB auctions. Shafiq Rep. ¶¶ 35-89, 96-98. Plaintiffs’ expert’s analysis of Google’s

 2 data produced in this action reveals that, when a Google account holder is involved, Google can

 3 associate the information shared with RTB participants with a specific Google account holder

 4                               . Id. ¶¶ 35-36. In short, the evidence produced by Google shows that the

 5 information it shares is always and thus commonly associated with the user’s Google account.

 6          Common evidence also shows that Google maintains records of when each account holder

 7 created a Google account and that Google RTB affects all or virtually all Google U.S. account

 8 holders. Shafiq Rep. ¶¶ 90-91; Wilson Rep. ¶¶ 15, 80-100, 124. Notably, there is no setting or control

 9 available whereby Google users can completely stop their information from being shared through
                                                    16
10 RTB. Richards Rep. ¶ 137; Wilson Rep. ¶¶ 101-123. Thus, there is a common method and common

11 evidence to establish Class membership.

12          Like all members of the proposed class, plaintiffs’ personal information was offered for sale

13 and sold in RTB auctions during the class period. Indeed, the limited data Google has produced to

14 date shows that for just the eight-week sampled period allowed by the Court, plaintiffs’ personal

15 information was sent to hundreds of RTB participants around the world almost                   times.

16 Shafiq Rep. ¶¶ 35-36. More than             of these bid requests involve sensitive information being

17 viewed by the plaintiffs, such as websites involving health matters, political views, and precise

18 geolocation. Id. ¶¶ 35, 40. All of the            bid requests include at least   common data fields,

19 including: the

20

21                                    Id. ¶¶ 41-42. The claims here focus on the common fields. Given

22 the volume and uniformity of the sampled plaintiff bid data, and the Court’s requirement that

23 Google’s production of sampled plaintiff data be representative of the entire class period and for the

24
     16
     Google may wrongly contend that some settings can affect the personal information that is shared
25 through RTB. However, regardless of the setting, there is always a core amount of personal
   information shared with RTB participants. Wilson Rep. ¶ 101. Moreover, even if effective, Google’s
26
   own records show that the number of class members who changed these settings is truly de-minimis.
27 Id. ¶ 103; Pritzker Decl., Ex. 13. Each RTB transaction is logged by Google; if any user successfully
   availed herself of these settings each-and-every time she went online over a seven-year period and
28 for every device and browser and app used, she would not appear in Google’s RTB-related logs, and
   therefore not be a member of the class. See Shafiq Rep. ¶¶ 92-95.
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 1 class as a whole (see ECF 382, 483), the Court can conclude for the purposes of this motion that all

 2 Google U.S. account holders since June 28, 2016 have similarly had significant amounts of the same

 3 categories of personal information shared through Google RTB.

 4          Plaintiffs seek to certify the following class for whom Google breached its contractual

 5 promise not to share or sell its account holders’ personal information to anyone outside of Google:

 6           All individual Google account holders subject to a Google United States Terms of
             Service whose personal information was sold or shared by Google in its Real Time
 7           Bidding auctions after June 28, 2016.

 8 All legal claims in plaintiffs’ complaint involve these common factual issues regarding Google’s

 9 promises, conduct, and resulting harm, all of which can be answered using common evidence “in one
10 stroke.” Olean, 31 F.4th at 663. These “aggregating, enabling issues” predominate because they are

11 “more prevalent or important” than any “individual issues.” Id. at 664.

12 III.     LEGAL STANDARD
13          Rule 23(a) requires that: (1) the class is so numerous that joinder of all members is
14 impracticable; (2) there are questions of law or fact common to the class; (3) the claims or defenses

15 of the representative parties are typical of the claims or defenses of the class; and (4) the representative

16 parties will fairly and adequately protect class. A party seeking class certification need only satisfy

17 the requirements of one subsection of Rule 23(b). Olean, 31 F.4th at 664-65. Certification under Rule

18 23(b)(3) is appropriate if “the questions of law or fact common to the class members predominate

19 over any questions affecting only individual members,” and “a class action is superior to other

20 available methods for fairly and efficiently adjudicating the controversy.” Rule 23(b)(2) permits

21 certification when “the party opposing the class has acted or refused to act on grounds that apply

22 generally to the class, so that final injunctive relief or corresponding declaratory relief is appropriate

23 respecting the class as a whole.”

24          While the court’s class certification analysis must be rigorous and may overlap with the
25 merits, the mere fact that a party moves for class certification is not a “license to engage in free-

26 ranging merits inquiries.” Stockwell v. City and Cty of San Francisco, 749 F.3d 1107, 1111-12 (9th

27 Cir. 2014) (quoting Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 568 U.S. 455, 466 (2013)).

28 Instead, “[m]erits questions may be considered to the extent—but only to the extent—that they are

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 1 relevant to determining whether the Rule 23 prerequisites for class certification are satisfied.” Id. The

 2 overall goal of Rule 23 is “to select the method best suited to adjudication of the controversy fairly

 3 and efficiently.” Amgen, 568 U.S. at 460 (cleaned up).

 4 IV.      ARGUMENT

 5          A.      All 23(a) Requirements are Satisfied

 6          1.      Numerosity. Numerosity requires a class so numerous that joinder of all members

 7 individually would be impracticable. Rule 23(a)(1). “Although there is no exact number, some courts

 8 have held that numerosity may be presumed when the class comprises forty or more members.” See

 9 Krzesniak v. Cendant Corp., 2007 WL 1795703, at *7 (N.D. Cal. June 20, 2007). While Google has
10 not yet identified the number of unique Google U.S. account holders, Google has confirmed that there

11 are about 1.4 billion U.S. accounts potentially at issue. See Pritzker Decl., Ex. 13. There are at a

12 minimum tens of millions of potential class members here.

13          2.      Commonality. Commonality requires “questions of law or fact common to the class.”

14 Rule 23(a)(2). A common question is one of “such nature that it is capable of class-wide resolution—

15 which means that the determination of its truth or falsity will resolve an issue that is central to the

16 validity of each of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350

17 (2011). “[F]or purposes of Rule 23(a)(2)[,] even a single common question will do.” Id. at 359

18 (quotations and brackets omitted). Here, common issues include whether: (1) Google promised not

19 to share or sell Class members’ personal or sensitive information to third parties; (2) Google offered

20 for sale and/or sold Class members’ personal or sensitive information to RTB participants in Google

21 RTB auctions; and (3) Google’s conduct contravenes societal norms and is highly offensive to a

22 reasonable person. Here, Google’s standardized contracts and uniform actions are evidence capable

23 of answering these common questions. See Caracuzzo Decl. ¶¶ 31-37, Exs. 35, 39, 41; Wilson Rep.

24 ¶¶ 32-42; Shafiq Rep. ¶¶ 35-42; Richards Rep. ¶¶ 75-118. Also, whether the             or more items of

25 Class member data Google uniformly transmits in RTB bid requests are “personal information” under

26 Google’s contracts and California law is a common question. Commonality is met.

27          3.      Typicality. “The typicality requirement looks to whether the claims of the class

28 representatives [are] typical of those of the class, and [is] satisfied when each class member’s claim

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 1 arises from the same course of events, and each class member makes similar legal arguments to prove

 2 the defendant’s liability.” Brown v. Google, LLC, 2022 WL 17961497, at *16 (N.D. Cal. Dec. 12,

 3 2022). It is a “permissive” standard and its focus “should be on the defendant’s conduct and plaintiff’s

 4 legal theory, not the injury caused to the plaintiff.” Simpson v. Fireman’s Fund Ins. Co., 231 F.R.D.

 5 391, 396 (N.D. Cal. 2005). Here, each plaintiff and the Class is subject to a common U.S. Google

 6 ToS and Privacy Policy, and their claims and injuries all arise from a common wrong based on

 7 Google’s broken promises and systematic sharing and sale of their personal information in Google

 8 RTB. See Caracuzzo Decl. ¶¶ 31-37; Pritzker Decl. ¶¶ 19-22, Exs. 6-11; Shafiq Rep. ¶¶ 35-42.

 9          4.      Adequacy. Plaintiffs and their counsel meet Rule 23(a)(4)’s requirement that they

10 “will fairly and adequately protect the interests of the class.” This inquiry considers whether plaintiffs

11 and their counsel have any conflicts of interest with other class members, and whether plaintiffs and

12 their counsel will prosecute the action vigorously on behalf of the class. Staton v. Boeing Co., 327 F.

13 3d 938, 957 (9th Cir. 2003). Furthermore, analysis under Rule 23(g), which is part of the Rule 23(a)(4)

14 adequacy analysis (see Victorino v. FCA US LLC, 322 F.R.D. 403, 406 (S.D. Cal. 2017)), and as

15 supported by the Pritzker Declaration and exhibits, shows adequacy is met. Proposed Class Counsel

16 (a) have done substantial work “identifying or investigating potential claims” (see Pritzker Decl. ¶

17 28), (b) have, as their resumes demonstrate, experience and substantial success in complex litigation

18 and class actions, including privacy rights litigation (see id. ¶¶ 26-34), (c) possess “knowledge of the

19 applicable law” (see ibid.), and (d) have substantial resources that they are able to “commit to

20 representing the class” (see id. ¶ 27). See Rule 23(g)(1)(A)(i)–(iv).

21          B.      Common Issues Predominate Under Rule 23(b) 17

22                  1.      California Law Applies to All Claims

23          Google’s ToS uniformly provided that California law commonly applies to all claims.

24

25   17
     In accordance with Rule 23(c)(4), Ninth Circuit courts permits issue certification in the absence of
   a finding that common issues predominate over individual issues with respect to the action as a
26 whole. See Valentino v. Carter-Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996) (“Even if the

27 common questions do not predominate over the individual questions so that class certification of the
   entire action is warranted, Rule 23 authorizes the district court in appropriate cases to isolate the
28 common issues under Rule 23(c)(4) and proceed with class treatment of these particular issues.”).
   Plaintiffs seek class certification under Rule 23(c)(4), as appropriate.
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 1 Caracuzzo Decl. ¶¶ 31-37, Exs. 39, 41 (“California law will govern all disputes arising out of or

 2 relating to these terms…or any related services.”).

 3                     2.   Common Issues Predominate as to the Breach of Contract Claim

 4          There is a common contractual promise to class members—that Google will not share or sell

 5 their personal information to anyone outside of Google—and common, class-wide proof that Google

 6 breaches this promise when it shares and sells such information in Google RTB.

 7                          a.      Google’s Form Contract is Common, Classwide Evidence
            Whether Google promised class members that it would not share or sell their personal or
 8
     sensitive information is answerable with common proof—Google’s Terms of Service, Privacy Policy,
 9
     and incorporated notices—amounting to a common form contract.
10
            To create a Google account, all class members must agree to Google’s ToS. Caracuzzo Decl.,
11
     ¶¶ 31-37, Exs. 39, 41. Since March 31, 2020, the ToS hyperlinks and incorporates Google’s
12
     prominently-displayed “How Our Business Works” page, which expressly states that Google “never
13
     sells[s] your personal information to anyone.” Id., Ex. 38; see also MTD Order (ECF 233) at 3, 8. 18
14
     Google also states:
15

16          Advertisers do not pay us for personal information, such as your name or email, and
            we never share that information with advertisers, unless you ask us to. We also never
17          use your emails, documents, photos, or sensitive information like race, religion, or
            sexual orientation, to personalize ads to you.
18
     Caracuzzo Decl., Ex. 38.
19
            Google’s Privacy Policy also applies to all class members; The Privacy Policy makes express
20
     promises to class members regarding the protection of their personal information. See Introduction,
21
     supra; Caracuzzo Decl. ¶¶ 19, 23-30, Exs. 35, 36, 40. The Privacy Policy also states that Google
22
     “collects information to provide better services to all of our users. . . like which ads you’ll find most
23

24
     18
     “California law makes it quite easy to incorporate a document by reference.” See In re Facebook,
25 Inc., Consumer Privacy User Profile Litig., 402 F. Supp. 3d 767, 791 (N.D. Cal. 2019) (“Facebook
   Consumer Priv.”). The “contract need not recite that it ‘incorporates’ another document, so long as it
26
   ‘guide[s] the reader to the incorporated document.’” Shaw v. Regents of Univ. of California, 58 Cal.
27 App. 4th 44, 54 (1997) (quoting Bakery v. Aubry, 216 Cal. App. 3d 1259, 1264 (1989)); accord
   Marchand v. Northrop Grumman, 2017 WL 2633132, at *5 (N.D. Cal. Jun 19, 2017) (If a contract
28 “directed” the parties to a document the document is part of the contract); see also Caracuzzo Decl.
   ¶¶ 13-15, 30.
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 1 useful,” and describes the information Google collects to include:

 2
            . . .[U]nique identifiers, browser type and setting, device type and settings, operating
 3          system, mobile network information including carrier name and phone number, and
            application version number. We also collect information about the interaction of your
 4          apps, browsers and devices with our services, including IP address, crash reports,
            system activity, and the date, time and referrer URL of your request.
 5
     Id., Ex. 36, at 2. The Privacy Policy commonly defines Class member “[p]ersonal information” as
 6

 7          information that you provide to us which personally identifies you, such as your name,
            email address, or billing information, or other data that can be reasonably liked to such
 8          information by Google, such as information we associate with your Google Account.

 9 Id. at 26.
10          Google’s ToS, Privacy Policy, and incorporated notices provide a common commitment to

11 class members that Google does not share or sell their personal information to anyone outside of

12 Google. This is the precise type and form of commitment that courts look to in assessing whether

13 there is common contract to which Google and class members are bound. See In re Facebook, Inc.

14 Internet Tracking Litig., 956 F.3d 589, 610 (9th Cir. 2020) (“Facebook Tracking”)(contract must

15 “outline shared commitments to which users must abide”).

16          Whether or not agreeing to these terms constitutes consent (or lack of consent) to Google’s

17 practice of disclosing users’ personal information to RTB participants in the Google RTB auctions is

18 subject to common proof. There is also classwide, objective proof of contract formation from the

19 perspective of a reasonable user. Sateriale v. RJ Reynolds Tobacco Co., 2014 WL 7338877, at *9

20 (C.D. Cal. Dec. 19, 2014). “[C]ourts in construing and applying a standardized contract seek to

21 effectuate the reasonable expectations of the average member of the public who accepts it.” Williams

22 v. Apple, Inc., 338 F.R.D. 629, 638 (N.D. Cal. May 28, 2021) (quoting Restatement (Second) of

23 Contracts § 211(2)); accord Brown v. Google LLC, 2021 WL 6064009, at *8 (N.D. Cal. Dec. 22,

24 2021) (Google’s “contract language must be assessed objectively, from the perspective of a

25 reasonable [Google] user.” (quoting Facebook Consumer Priv., 402 F. Supp. 3d at 801). 19

26   19
      In Facebook Consumer Priv., 402 F. Supp. 3d at 789, the Court explained that the test for consent
27 “is one of contract interpretation governed by California law,” which “requires the Court to pretend
   that users actually read [the Defendant’s] contractual language before clicking their acceptance, even
28 though we all know virtually none of them did” and that requires the contract to “be assessed
   objectively, from the perspective of a reasonable” consumer.
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 1          Claims that arise from “form contracts” are “particularly appropriate for class treatment.”
 2 Newberg on Class Actions § 3.24 (5th ed.). So too here. The common evidence for class members as

 3 a whole is Google’s own contract language. Whether Google’s ToS, Privacy Polices and incorporated

 4 notices constitute a unilateral contract, and whether class members accepted Google’s commitment

 5 – its affirmative promise to not share or sell their personal information with or to third parties –“will

 6 be determined by reference to objective criteria and therefore these elements are susceptible to

 7 common proof” on a classwide basis. Roley v. Google LLC, 2020 WL 8675968, at *10 (N.D. Cal.

 8 July 20, 2020) (citing Sateriale, 2014 WL 7338877, at *9)).

 9
                           b.      Whether Google’s Conduct Breached the Contract is
10                                 Susceptible to Common, Classwide Proof

11          Whether Google breached its commitment not to sell or share class members’ personal

12 information is also susceptible to common proof. This common proof includes Google’s internal

13 documents and protocols, internal Google RTB data, the testimony of Google’s witnesses, and expert

14 testimony concerning the ubiquity of Google RTB and its common impact on the Class.

15          Google RTB is a highly-automated computer process, the details of which are discussed above

16 and explained more fully in the accompanying Wilson and Shafiq Reports, both of whom are experts

17 in the field of data security, computer science, and internet privacy. The RTB auction process is well-

18 documented in Google’s RTB records and commonly works as follows:

19          (1) A class member visits a website or opens an app where Google RTB related source
                code is present, creating an impression.
20
            (2) The Google RTB source code sends the user’s impression (what the class member
21
                is looking at) to Google RTB. The impression includes a common set of
22              information about the class member and their device, including unique identifiers
                associated with the class member (such as the Google User ID, device IDs, hosted
23              match data 20, and IP address [truncated]); browsing history (such as the website
                being visited, the URL, and the name of the app being used); location (such as
24              country, postal code and hyperlocal [longitude and latitude], and the make and
                model of the class member’s web browser or mobile device and its screen size and
25
                particulars.
26
            (3) For Google account holders, Google associates the information collected with the
27
     20
28     Hosted match data reflects cookie-matching sold by Google in RTB auctions. Wilson Rep. ¶¶ 43-
     46; Shafiq Rep., ¶23.
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 1              user’s Google account.

 2          (4) Google RTB packages the identifiers and other information that it associates with
                each user’s Google account into a “bid request,” which is the standardized way that
 3              Google solicits bids from hundreds of RTB participants around the world seeking
                the opportunity to place an ad or simply lurking in the auctions to gather free data
 4              about Google account holders and their internet activities. The bid requests
 5              uniformly include (i) information that Google associates with a class member’s
                Google account; (ii) information that uniquely identifies the class member to RTB
 6              participants, including a Google User ID and other information that uniquely
                identifies the class member and their device; and (iii) communications content and
 7              contextual information that places the class member and their communication into
                specific ad targeting categories, including categories that Google publicly admits
 8              are “sensitive.”
 9
            (5) Google RTB sends the bid requests to RTB participants (including “Ad Tech”
10              companies that further disseminate the bid request data to other third parties) that
                may choose to bid on this impression by submitting a common form of “bid
11              response” to Google RTB.
12          (6) Google RTB selects the winning (highest) bidder, which can deliver a targeted
                advertisement to the specific class member, and collects revenue from the buyer.
13

14 Wilson Rep. ¶ 24; Shafiq Rep. ¶¶ 17-22.

15          The common question for the trier of fact is whether, contrary to Google’s contractual

16 commitment to class members, Google RTB transmits “personal information” to third parties under

17 Google’s contract and California law.. Plaintiffs will present common evidence to demonstrate the

18 breach. As plaintiffs’ experts explain, there is common evidence to show a jury that the account holder

19 data Google actually and uniformly transmits to third parties in Google RTB auctions (1) is

20 information that can be reasonably linked to each account holder and is, in fact, associated by Google

21 with each user’s Google account (qualifying as “personal information” under Google’s contract); and

22 (2) contains enough information and sufficient specificity to “identify, relate to, describe [or that] is

23 reasonably capable of being associated with, or could reasonably be linked, directly or indirectly,

24 with a particular consumer or household” under California law. Cal. Civ. Code § 1781.40(v)(1).

25 Although Google has not produced data on a class-wide basis, the data Google has produced so far

26 for the plaintiffs (data that was required to be representative of the Class as a whole) was analyzed

27 by plaintiffs’ experts using established scientific methodologies and, together with Google’s own

28 records, provides common evidence for a jury to conclude that class member data uniformly

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 1 transmitted to third parties in the Google RTB auctions includes, at a minimum:

 2
            (a) “unique identifiers”: a “persistent identifier that can be used to recognize a
 3              consumer, a family or a device that is linked to a consumer or family, over time and
                across services,” including “a device identifier; an Internet Protocol address;
 4              cookies, beacons, pixel tags, mobile ad identifiers…; customer number; unique
                pseudonym, or user alias; telephone numbers, or other forms of persistent or
 5
                probabilistic identifiers that can be used to identify a particular consumer or device
 6              that is linked to a consumer or family” 21;

 7          (b) “browsing history. . . information regarding a consumer’s interaction with an
                internet website application or advertisement,” such as the domain name, app, web
 8              page, or URL the class member is currently viewing 22;
 9          (c) “[g]eolocation data” including postal code/longitude and latitude coordinates 23;
                and
10

11          (d) “[i]nferences drawn from any of the information identified [in the law] to create a
                profile about a consumer reflecting the consumer’s preferences, characteristics, …
12              predisposition, behavior, attitudes, intelligence, abilities, and aptitudes”, such as
                hosted match data, user lists, age, gender, and sensitive categories or verticals 24
13
            Google RTB participants understand that these data fields in the bid requests can be and are
14
     reasonably associated with a particular consumer or household, which is why a consumer using her
15
     browser to search for a mattress for her son will see advertisements for mattresses pop up—across all
16
     her devices—for weeks. 25
17
            Google may argue that non-personalized-ads (“NPA”), do-not-track (DNT), or similar
18
     settings may be available on individual devices and that the existence of these capabilities make
19
     certification impossible. Not so. First, as a factual matter, Google’s own records show that only about
20
          percent of class members ever invoked these types of settings during the class period—even on
21
     a one-time basis. See Pritzker Decl., Ex. 13. That means approximately       percent of class members
22
     never invoked them. Second, to be clear, this is not a case about whether class members were or were
23

24

25   21
      CAL. CIV. CODE § 1798.140(a); Shafiq Rep. ¶ 42; Wilson Rep. ¶¶ 35-36.
     22
      CAL. CIV. CODE § 1798.140(v)(1)(F); Shafiq Rep. ¶ 42; Wilson Rep. ¶¶ 35-36.
26 23 CAL. CIV. CODE § 1798.140(v)(1)(G); Shafiq Rep. ¶ 42; Wilson Rep. ¶¶ 35-36.
   24
27 25 CAL. CIV. CODE § 1798.140(v)(1)(F); Shafiq Rep. ¶ 42; Wilson Rep. ¶¶ 35-36.
      See Kirsten Martin, PhD: It’s not their story to tell: why companies should respect our privacy
28 (TEDxChartlottesville, 2017) [video], http://tedxcharlottesville.com/archive/2017 (click on Kirsten
   Martin). Dr. Martin is the Director of Technology Ethics Center at the University of Notre Dame.
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 1 not shown personalized advertisements. Plaintiffs allege that Google shared or sold class members’

 2 personal information in the Google RTB auctions to third parties, despite Google’s express promise

 3 that it would not do so. Here, there is common evidence to show a jury that class members’ personal

 4 information was and is in fact shared or sold in the Google RTB auctions. Shafiq Rep. ¶¶ 35-36, 41-

 5 42; Wilson Rep. ¶¶ 32-37. Because common evidence will inform the Court’s interpretation of

 6 Google’s form contract, and because Google’s alleged breach requires common proof, certification

 7 of plaintiffs’ contract claim is warranted.

 8                 3.      Common Issues Predominate for Plaintiffs’ Other Claims

 9          Each of plaintiffs’ claims turns on Google’s uniform promise that it doesn’t share or sell class

10 members’ personal information, further supporting class treatment.

11                         a.      Breach of Confidence Claim

12          California’s tort for breach of confidence has four elements: (1) the plaintiff conveyed

13 confidential and novel information to the defendant; (2) the defendant had knowledge that the

14 information was being disclosed in confidence; (3) there was an understanding between the defendant

15 and the plaintiff that the confidence be maintained; and (4) there was a use in violation of the

16 understanding.” Berkla v. Corel Corp., 302 F.3d 909, 917 (9th Cir. 2002) (citation omitted).

17          First, as shown above (at §§ II and IV.B), there is common proof that Google collects and

18 shares with RTB participants class members’ personal information. This includes the contents of class

19 members’ internet communications and information about their activities and interests. Shafiq Rep.
                                                                                           26
20 ¶¶ 35, 42. Such information is obviously “confidential.” MTD Order (ECF 233) at 15:2-6.

21          Because the categories of user data transmitted to RTB participants in Google RTB auctions

22 are standardized but reveal information that is specific to or reasonably associated with each account

23 holder, plaintiffs will also be able to show a jury through common evidence that “the combination

24 and totality of various different categories of [class members’ personal information] makes such

25 disclosure novel.” MTD Order (ECF 233) at 15:6-10 (citing CCAC ¶ 419); see San Jose Options,

26
     26
27   Cf. Riley v. California, 573 U.S. 373, 395-96 (2014) (“Internet search and browsing history” and
   “location information”); Flores-Mendez v. Zoosk, Inc., 2021 WL 308543, at *4 (N.D. Cal. Jan. 30,
28 2021) (“sexual preference[]”); Stasi v. Inmediata Health Grp., 501 F. Supp. 3d 898, 915 (S.D. Cal.
   2020) (medical information).
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 1 Inc. v. Yeh, 2014 WL 4380045 at *5-6 (N.D. Cal. Sep. 4, 2014) (information was confidential and

 2 novel when “taken as a whole, viewing the forest instead of a single individual email”); Balboa Ins.

 3 Co. v. Trans Global Equities, 218 Cal. App. 3d 1327, 1343-46 (1990). Plaintiffs’ theory is amply

 4 supported by evidence showing that common issues predominate with respect to the kinds of personal

 5 information that Google’s systems routinely disclose to RTB participants, and the extent to which

 6 that personal information can be linked to or reasonably associated with individual class members,

 7 and thus inherently “novel.” Shafiq Rep. ¶¶ 42-98; Wilson Rep. ¶¶ 32-79.

 8          On the second and third elements, there is ample common evidence that Google knew class

 9 members were disclosing their information in confidence, and that there was a reasonable common
10 understanding that Google would maintain that confidence. Richards Rep. ¶¶ 72-84, 130-131. Any

11 contrary argument by Google “is belied by the express language of Google’s policies,” MTD Order

12 (ECF 233) at 15:11-15, which are set forth both as contractual promises, see above at IV.B.2.a, and

13 extracontractual representations that it would never sell or share users’ personal information to any

14 third party, including advertisers. Cf. Ojala v. Bohlin, 178 Cal. App. 2d 292, 300 (1960) (information

15 was conveyed in confidence where defendant gave “assurance … that he would not use the

16 [information] for his own benefit”). Google’s extracontractual representations include its many

17 unequivocal statements made on its website, in the national media, and in sworn Congressional

18 testimony that Google will not only never share personal information that “personally identifies”

19 users, but also that Google will never “sell,” “share,” or “reveal” users’ personal information to any

20 third party, full stop. See, e.g., CCAC, Exs. 23 at 1, Ex. 24 at 1-4, Ex. 25 at 1; see also Google’s ToS

21 and Privacy Policies, Caracuzzo Decl., Exs. 35, 36, 49-41.

22          Google has also represented that it will not allow advertisers to target ads based on users’

23 personal information related to health, sexuality, race, religious beliefs, and other sensitive categories

24 (Caracuzzo Decl. ¶¶ 25-30), and that Google will otherwise keep users’ personal information

25 “protected and private.” Id. Google made these statements uniformly to all class members. Finally,

26 as discussed above at IV.B.2.b., whether the manner in which Google routinely conducts its RTB

27 auctions resulted in class members’ personal information being disclosed can be based on common

28 proof. Plaintiffs’ breach of confidence claim should be certified.

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 1                          b.     The CIPA Claim

 2                                 i.       Lack of Consent is a Common Question

 3          Plaintiffs’ claims under the California Information Privacy Act contain the common element

 4 (or defense) of lack of consent. See CAL. PEN. CODE § 631 (CIPA). “Consent ‘can be explicit or

 5 implied, but any consent must be actual . . . . In order for consent to be actual, the disclosures must

 6 ‘explicitly notify’ users of the practice at issue.” MTD Order (ECF 233) at 16; accord Tsao v. Desert

 7 Palace, Inc., 698 F.3d 1128, 1149 (9th Cir. 2012) (holding that claims of implied consent must be

 8 “actual” and “to be effective, ... must be ... to the particular conduct, or substantially the same

 9 conduct.”). Here, plaintiffs will prove with common evidence—Google’s uniform contract with class
10 members, as discussed above—that Google uniformly and unequivocally promises that it “will not

11 sell your personal information to anyone” and “do[es] not share personal information … outside of

12 Google.” Caracuzzo Decl., Exs. 34-42. Nowhere in its ToS or Privacy Policies does Google disclose

13 that, contrary to this express promise, it in fact shares with and sells to hundreds of companies outside

14 of Google class members’ personal information in the Google RTB auctions, precisely as plaintiffs

15 allege. Id.; Richards Rep. ¶¶ 90-118, 127-129, 137. Also commonly, there is no mechanism by which

16 class members can overcome this promise—by either declaring that they do, or do not, consent to

17 Google sharing their personal information with third parties in RTB. Richards Rep. ¶ 137.

18          There is thus common evidence to show a jury that Google uniformly fails to “explicitly

19 notify” class members of “the practice at issue,” and thus there is common class-wide evidence

20 defeating the requirement of actual consent. MTD Order (ECF 233) at 16; accord In re. Facebook

21 Biometric Information Privacy Litig., 326 F.R.D. 535, 545 (N.D. Cal. 2018) (certifying class where

22 Facebook’s facial recognition technology harvest biometric identifiers as contemplated under BIPA,

23 and if so, “did Facebook give users prior notice of these practices and obtain their consent.”), aff’d,

24 932 F.3d 1264 (9th Cir. 2019).

25                                 ii.      The CIPA Claim is Subject to Common Proof

26          To prevail on their CIPA claim, plaintiffs must show that Google (1) “aids, agrees with . . . or

27 conspires with any other person or persons to unlawfully do, or permit or cause” those persons to (2)

28 “willfully and without the consent of all parties to the communication, or in any unauthorized

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 1 manner” to (3) “read[], or attempt to read, or to learn the contents or meaning of any . . .

 2 communication;” (4) while the same is in transit or . . . is being sent from, or received at any place”

 3 (5) “within this state.” CAL. PEN. CODE § 631. These CIPA elements are all subject to common proof.

 4          First, proof that Google’s RTB auctions pertain to “contents” of electronic communications

 5 is common to all class members. CIPA broadly defines “‘content’ as that which ‘includes any

 6 information relating to the substance, purport, or meaning of the communication at issue.’” MTD

 7 Order (ECF 233) at 17:6-9. There is common proof that Google regularly allows RTB participants to

 8 “read” or “attempt to read’ or “learn the contents or meaning of” class member communications as

 9 part of the Google RTB auction process. Shafiq Rep. ¶¶ 42; Richards Rep. ¶¶ 90-100.
10          Second, proof that Google’s actions occurred while communications were “in transit” is also

11 common to all class members. See, e.g., In re Yahoo Mail Litig., 308 F.R.D. 577, 591 (May 26, 2015)

12 (“Yahoo Mail”) (“Whether Yahoo intercepts emails while those emails are in transit is capable of

13 classwide resolution”). Here, Google RTB’s re-directions occur in “real-time,” while the

14 communications between class members and publishers are still occurring. Wilson Rep. ¶ 26; Shafiq

15 Rep. ¶ 19.

16          Lastly, there is common proof that Google’s actions occurred within the State of California,

17 in particular: (i) Google’s venue and choice of law agreement with class members in the ToS, and (ii)

18 Google’s activities were directed and accomplished by employees in California, using servers located
                                                 27
19 or under the control of California employees.

20                         c.     Invasion of Privacy and Intrusion Upon Seclusion Claims

21          For plaintiffs’ invasion of privacy and intrusion upon seclusion claims, courts consider

22 whether (1) there exists a reasonable expectation of privacy, and (2) the intrusion was highly

23 offensive.” Facebook Tracking, 956 F.3d at 601. Both elements can be established through common

24

25   27
      All Google RTB transactions in the United States run through two server locations, one in
   California and one in Virginia. See https://developers.google.com/authorized-buyers/rtb/peer-guide.
26 Moreover, Google has waived any argument regarding location of the activity by failing to produce

27 evidence showing otherwise. The Court directed Google to produce any proof that at least one Google
   RTB recipient or publisher received the communications at issue while they were not located in
28 California. MTD Order (ECF 233) at 17:10-16. Google never produced any such proof. Pritzker Decl.
   ¶ 13.
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 1 proof.

 2                                  i.        Whether a “Reasonable” Expectation of Privacy Exists
                                              is a Common, Class-wide Issue
 3
            “A ‘reasonable’ expectation of privacy is an objective entitlement founded on broadly based
 4
     and widely accepted community norms.” Hill v. NCAA, 7 Cal. 4th 1, 37 (1994). Accordingly, whether
 5
     class members had “reasonable expectations” of privacy is subject to common proof of broadly based
 6
     and widely accepted community norms, not on their subjective expectations. See, e.g., Opperman v.
 7
     Path, Inc., 2016 WL 3844326, at *11 (N.D. Cal. July 15, 2016) (certifying class for intrusion upon
 8
     seclusion claim). In addition, insofar as a reasonable expectation of privacy rises or falls on consent,
 9
     Google’s express promises and its breaches of those promises are uniform for all class members and
10
     go directly to the issue of consent and reasonable expectations of privacy.
11
            Here, in light of Google’s uniform promises that it would not share and sell class members’
12
     personal information, class members uniformly had a reasonable expectation that Google would keep
13
     their information private in accordance with its promises. See, e.g., Facebook Tracking, 956 F.3d at
14
     602 (“Facebook set an expectation that logged-out user data would not be collected, but then collected
15
     it anyway.”); In re Nickelodeon Cons. Priv. Litig., 827 F.3d 262, 294 (3d Cir. 2016) (holding that a
16
     reasonable expectation of privacy existed when Nickelodeon promised users that it would not collect
17
     information from website users, but then did). Proof of these issues is common to the class (see
18
     Richards Rep. ¶¶ 75-118, 130-131) and will be based on common evidence in the form of common
19
     representative information that Google has produced in discovery.
20
                                    i.       The “Highly Offensive” Element is Judged By a
21                                           “Reasonable Person” Standard

22          The element of “highly offensive” is judged on an objective “reasonable person” standard and

23 must be “’sufficiently serious and unwarranted’ as to constitute an ‘egregious breach of social

24 norms,’” which does not depend upon any individual plaintiffs’ feelings about the conduct. Facebook

25 Tracking, 956 F.3d at 606. This element is “essentially a ‘policy’ determination” as to whether the

26 alleged conduct is “highly offensive’ under the circumstances.” Opperman, 2016 WL 3844326, at *

27 11. The relevant factors include “the degree and setting of intrusion, and the intruder’s motives and

28 objective.” Id. Critically, while “[t]hese determinations may require an examination of [Google’s]

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 1 motives, [] they will not require individualized determinations of class members’ subjective

 2 experiences.” Id. Given this standard, the question of whether Google’s conduct was “highly

 3 offensive” is subject to common proof class wide. Id; see Richards Rep. ¶¶ 75-118.

 4                         d.      Publication of Private Facts Claim

 5          For the publication of private facts claim, plaintiffs must show “(1) public disclosure of (2) a

 6 private fact (3) which would be offensive and objectionable to the reasonable person and (4) which

 7 is not of legitimate public concern.” Shulman v. Grp. W. Prods., Inc., 18 Cal. 4th 200, 214 (1998)

 8 (citations omitted). Elements two and three mirror the elements of the other privacy claims and, for

 9 the same reasons discussed above, these elements are subject to common class-wide proof. In
10 addition, on the issue of whether the information Google shares through RTB is “a private fact,” the

11 evidence demonstrates that the core allegations of plaintiffs’ complaint are true for all class members.

12 Shafiq Rep. ¶¶ 41-42. Thus, the evidence produced to date supports that the information shared

13 through the RTB auctions is personal information under California law. “[P]arties generally maintain

14 a reasonable expectation of privacy in their personal information.” MTD Order (ECF 233) at 13:4-9.

15                                 i.       “Public Disclosure” is Subject to Common Evidence

16          With respect to the first element, a plaintiff must show that the information is “widely

17 published and not confined to a few persons or limited circumstances.” Hill, 7 Cal. 4th at 27. This

18 question will be answered with common evidence that Google shares class members’ personal

19 information through RTB with hundreds of RTB participants around the world based on information

20 collected about those class members on millions of websites and apps. Shafiq Rep. ¶¶ 38-39; Pritzker

21 Decl., Ex. 12. As this Court previously observed, the public disclosure element can be satisfied

22 “[g]iven the large number of participants in the RTB bidding process.” MTD Order (ECF 233) at

23 13:27-14:5; see also Facebook Consumer Priv., 402 F. Supp. 3d at 796 (“[D]issemination of your

24 private information to tens of thousands of individuals and companies is generally going to be

25 equivalent to making that information ‘public.’”). The scope and scale of Google’s disclosures to

26 third parties is further confirmed by plaintiffs’ expert. Prof. Shafiq analyzed the representative data

27 produced by Google showing the information Google shared with RTB participants about the

28 plaintiffs. Shafiq Rep. ¶¶ 35-42. This analysis revealed that for just the seven plaintiffs and for just

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 1 an eight-week period, Google disclosed their personal information through Google RTB to at least

 2        different companies located in   different countries almost            times. Id.

 3                                 ii.     The Information is Not of “Legitimate Public Concern”

 4           The disclosure of class members’ personal information and web-browsing histories through

 5 Google’s RTB system are not of “legitimate public concern.” This element also can be satisfied by

 6 common evidence and common legal arguments.

 7           C.     Common Issues Predominate Regarding the Relief Plaintiffs Seek

 8           California law recognizes disgorgement of profits resulting from unjust enrichment, even

 9 where an individual has not suffered a corresponding loss. Facebook Tracking, 956 F.3d at 600; In
10 re Google Assistant Privacy Litigation, 546 F. Supp. 3d 945, 967-8 (N.D. Cal. 2021) (plaintiffs in
                                                                                                      28
11 privacy case properly pled entitlement to non-restitutionary disgorgement for breach of contract).

12                  1.     Common Issues Predominate as to Disgorgement of Profits

13           Disgorgement is a common issue subject to common proof. Plaintiffs’ damages expert, Prof.

14 Zeithammer, calculates classwide disgorgement based on Google’s internal revenue analyses of

15 Google RTB revenues attributable to the use of the class member personal information at issue here,

16 and applies econometrics. Zeithammer Rep. ¶¶ 18-63. Google’s internal revenue analyses, outside

17 econometric studies, and Prof. Zeithammer’s additional economic analyses provide convergent multi-

18 method evidence that approximately 51.1% of Google’s RTB revenues result from the improper sale

19 of class members’ personal information to RTB participants in Google RTB auctions. Id. ¶¶ 12-14,

20 81, 98. Plaintiffs’ other damages expert, Greg Regan, applies Prof. Zeithammer’s 51.1% allocation

21 to Google’s gross RTB revenues during the class period to determine what percentage of those

22 revenues constitute profits subject to disgorgement under a class-wide unjust enrichment remedy.

23 Regan Rep. ¶¶ 35-53. Mr. Regan, applying his accounting expertise to Google’s internal revenue

24 documents, calculates Google’s unjust enrichment profits for each year of the class period on a class-

25

26   28
     See also, Alkayali v Hoed, 2018 WL 3425980, at* 3 (S.D. Cal. 2018) (citing Hernandez v. Lopez,
27 180 Cal. App. 4th 932, 939 (2009) (holding that “a plaintiff may seek compensation under an unjust
   enrichment theory. . .based on the pleaded contract of action for breach of contract”); Dunkin v.
28 Boskey, 82 Cal. App. 4th 171, 198 (2000) (same); 1 Witkin, Summary 11th Contracts § 1050 (2018)
   (“Restitution may also be awarded in contract actions. . ..”).
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 1 wide basis (totaling at least               ). Id. ¶ 53.

 2                  2.      Common Issues Predominate Based on Market Pricing Damages

 3          As an alternative classwide damages analysis, Prof. Zeithammer proposes a market price

 4 damages model using common evidence to determine the market value of class members’ personal

 5 information shared with RTB participants. Zeithammer Rep. ¶¶ 15-17, 84-97. Based on his analysis,

 6 which includes a review and analysis of four vendors that pay consumers for their personal

 7 information, Prof. Zeithammer determines that the fair market value of class members’ personal

 8 information is $38 per year (or $3.17 per month) for each class member. Id. ¶¶ 15-17, 93-97, 100.

 9 This is a common approach to market damages.
10                  3.      Common Issues Predominate as to Punitive Damages

11          Because “the purpose of punitive damages is not to compensate the victim, but to punish and

12 deter the defendant, . . . the focus of a punitive damages claim is not on the facts unique to each class

13 member, but on the defendant’s conduct toward the class as a whole.” Ellis v. Costco Corp. III, 285

14 F.R.D. 492, 542-44 (N.D. Cal. 2012) (certifying Rule 23(b)(3) class including a claim for punitive

15 damages). Here, plaintiffs claim that Google acted with the requisite intent on a class-wide basis and

16 will rely on Google’s internal documents and other common evidence to prove their entitlement to

17 punitive damages at trial.

18                  4.      Common Issues Predominate as to Statutory Damages

19          CIPA provides for a statutory minimum judgment of $5,000 per violation or treble damages,

20 whichever is greater. CAL. PENAL CODE § 637.2(a). Such statutory damages calculations are common

21 and certifiable. Plaintiffs’ proposed class is large—likely containing hundreds of millions of class

22 members—and, accordingly, any statutory damages for the class would also likely be substantial. But

23 that is not a basis to refuse certification. For example, in Patel v. Facebook, Inc., the Ninth Circuit

24 affirmed certification of a Rule 23(b)(3) class even though the plaintiffs likewise sought statutory

25 damages. 932 F. 3d 1264, 1276-77 (9th Cir. 2019) (“Where neither the statutory language nor

26 legislative history indicates that the legislature intended to place a cap on statutory damages, denying

27 class certification on that basis would subvert legislative intent.”); see also Raffin v. Medicredit, Inc.,

28 2017 WL 131745, at *9 (C.D. Cal. Jan. 3, 2017 (despite class action device, the California legislature

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 1 “evidently decided that [] damages of $5,000 per violation serve CIPA’s purposes and are

 2 proportional to the harm caused by CIPA violations”) (alteration in original). The same is true here.

 3 In any event, “concerns about excessive damages are better suited to a later stage of the litigation.”

 4 Zaklit v. Nationstart Mortg. LLC, 2017 WL 3147901, at *9 (C.D. Cal. July 24, 2017).

 5             D.      Plaintiffs’ Methods for Fairly Distributing Monetary Relief to Class Members

 6             Plaintiffs’ aggregate class-wide damages are calculable based on common proof and sound

 7 methodologies. At the class certification stage, that “may be all that plaintiffs need prove.” Newberg

 8 on Class Actions § 12:2. This is because when “the only question is how to distribute damages, the

 9 interests affected are not the defendant’s but rather those of silent class members.” Six (6) Mexican
10 Workers, 904 F.2d 1301, 1307 (9th Cir. 1990); see also Ruiz Torres v. Mercer Canyons, 835 F.3d

11 1125, 1140-41 (9th Cir. 2016) (while the partitioning of an aggregate damage award among class

12 members may lead to individual calculations, that would not defeat class certification).

13             Although Ninth Circuit law is clear that Google has no stake in how an aggregate award might

14 be distributed, plaintiffs nonetheless propose a plan to distribute damages, if awarded at trial, to class

15 members. Whether constituted as disgorgement of unjust enrichment profits or an award of

16 compensatory damages based on the market value of class members’ personal information shared in

17 RTB auctions, Mr. Regan, in his report, proposes a method to fairly and equitably allocate any

18 aggregate damages award to all class members on a pro rata basis according to the number of months

19 each class member has maintained an active Google account during the class period. This calculation

20 is knowable because Google maintains records for all class members identifying when they first

21 signed up for a Google account in the United States. Regan Rep. ¶¶ 54-57, 62-65; Shafiq Rep. ¶¶ 90-

22 91.

23             E.      A Class Action is Superior to Individual Adjudications

24             Under Rule 23(b)(3)’s superiority prong, a class action here will achieve “economies of time,

25 effort, and expense” and promote “uniformity of decisions as to persons similarly situated.” Amchem

26 Products v. Windsor, 521 U.S. 591, 615 (1997) (citation omitted). All of these economies will be
                                                   29
27 satisfied by class treatment and a single trial. Liability will be established under one state forum’s

28
     29
          Plaintiffs’ proposed trial plan is described in the Pritzker Decl. ¶¶ 35-41.
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 1 law, California, under Google’s uniform contract with all class members The evidence to be presented

 2 to the jury will be the same for the individual plaintiffs as it is for the Class. Pritzker Decl. ¶¶ 35-41.

 3 As discussed, all of these claims involve common issues regarding Google’s promises, conduct and

 4 resulting harm, all of which can be answered using common evidence “in one stroke.” Olean, 31

 5 F.4th at 663.

 6          F.      Rule 23(b)(2) Certification Is Warranted for Injunctive Relief

 7          Plaintiffs also seek certification under Rule 23(b)(2) for plaintiffs’ claims for injunctive and

 8 declaratory relief. Rule 23(b)(2) requires courts to look at whether class members seek uniform relief

 9 from a practice applicable to all of them. Ward v. United Airlines, Inc., 2021 WL 534364, at *7 (N.D.
10 Cal. Feb. 12, 2021) (quoting Rodriguez v. Hayes, 591 F.3d 1105, 1125 (9th Cir. 2010)). Plaintiffs

11 seek injunctive relief that would require Google to either stop sharing and selling class members’

12 personal information in Google RTB auctions in violation of Google’s contracts and California law,

13 or provide accurate notice to class members that Google will or intends to share and sell their personal

14 information to third parties in Google RTB auctions and afford all class members a meaningful and

15 knowing opportunity to opt out and refuse Google permission to share or sell their personal

16 information through Google RTB auctions. Plaintiffs also seek the appointment of an independent

17 third-party to verify that the injunctive relief has been implemented. Pritzker Decl. ¶ 44.

18          “Unlike Rule 23(b)(3), a plaintiff does not need to show predominance of common issues or

19 superiority of class adjudication to certify a Rule 23(b)(2) class.” Yahoo Mail, 308 F.R.D. at 598-99

20 (certifying a Rule 23(b)(2) class seeking injunctive relief requiring Yahoo to stop scanning incoming

21 and outgoing emails while in transit); see DZ Rsrv. v. Meta Platforms, Inc., 2022 WL 912890, at *9

22 (N.D. Cal. Mar. 29, 2022) (certifying an injunctive relief class requiring Meta (f/k/a Facebook) to

23 correct or cease certain practices). Here, Google has continued to uniformly breach its commitment

24 to class members that it “doesn’t sell your personal information to anyone,” and to unjustly profit

25 from its ongoing misconduct. These common practices can be addressed through injunctive relief.

26 V.       CONCLUSION

27          For all of the foregoing reasons, plaintiffs respectfully request that the Court certify the Class,

28 appoint plaintiffs as representatives of the Class, and appoint class counsel.

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 1 DATED: July 14, 2023                           Respectfully submitted,

 2
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 3
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 1                                      FILER ATTESTATION

 2         I, Bethany Caracuzzo, attest that concurrence in the filing of this document has been obtained

 3 from the other signatories. Executed on July 14,2023 in Emeryville, California.

 4
                                                                /s/ Bethany Caracuzzo
 5                                                              Bethany Caracuzzo

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 1                                       CERTIFICATE OF SERVICE

 2             I hereby certify that on July 14, 2023, I electronically filed the foregoing document with the

 3 Clerk of the Court using the ECF system which sent notification of such filing to all counsel of

 4
     record.
 5
                                                                    /s/ Bethany Caracuzzo
 6                                                                  Bethany Caracuzzo

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